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                 EXHIBIT 1
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                 EXHIBIT 2
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

                              
                              
                                
                           




































                                                            1
                                                                                           Equitable 00023
                                                                                HARBOUR_053685
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                 EXHIBIT 3
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 1   WEISS BROWN
 2   6263 N. Scottsdale Road, Suite 340
     Scottsdale, Arizona 85250
 3   Telephone No. 480-327-6650
     Email: alan@weissbrown.com
 4
            mladen@weissbrown.com
 5
     Attorneys for Defendant
 6

 7                         IN THE UNITED STATES DISTRICT COURT

 8                               FOR THE DISTRICT OF ARIZONA
 9
     United States of America,                       Case No. CR-19-00898-PHX-DLR(DMF)
10
                                        Plaintiff,   DECLARATION OF MARK BURG
11

12   vs.

13   David Allen Harbour,
14                                   Defendant.
15
            I, Mark Burg, am an adult over the age of 18 years, and I am competent to provide this
16
     Declaration, testify to the same, and affirm that the contents are true. I make this Declaration
17
     based upon my own personal knowledge and do so under penalty of perjury.
18
            1.       I have been represented by counsel in connection with the drafting of this
19
     declaration, and a Settlement and Release of Claims Agreement with David Harbour, Pujanza
20
     Management LLC (“Pujanza”) and any all affiliates, entities, family members of David
21
     Harbour, effective November___, 2021 and make this declaration of my own free-will. I have
22
     not been asked to say anything but the truth. I do not make any of the statements in this
23
     declaration so Mr. Harbour will repay me; I make this declaration to set the record straight
24
     regarding our business dealings.
25

26

27

28
     {WB717873v2 }


                                                                                      DAH_0000012
                                            Case 2:19-cr-00898-DLR Document 365-1 Filed 04/05/22 Page 9 of 43




                                      1
                                                 2.     I understand that I may be regarded as a victim in connection with David
                                      2
                                          Harbour’s July 30, 2019 indictment and, November 24, 2020 superseding indictment. I am not
                                      3
                                          a victim and do not wish to be treated by the government or the Court as one.
                                      4
                                                 3.     I do not want any indictment to include my initials or any reference to me or any
                                      5
                                          transactions related to any loans or investments I, either personally or through an entity or trust
                                      6
                                          I control or am associated made to Mr. Harbour or any entity with which he was associated, or
                                      7
                                          any other business dealings we have had.
                                      8
                                                 4.     On or around December 1, 2014, I invested $1,000,000 into Pujanza.
                                      9
                                                 5.     My legal counsel drafted Pujanza’s Operating Agreement, (“Operating
                                     10
                                          Agreement”), and I relied on counsel to draft it properly. [See Exhibit ____ at Section 13.18.]
                                     11
                                          The Operating Agreement defined the purpose of Pujanza as “making investments in the form
2901 N. Central Avenue, Suite 1150




                                     12
     Telephone 602-812-7979
     Phoenix, Arizona 85012

     Facsimile 602-595-7800




                                          of equity investments or debt investments in various industries.”
      BASKIN RICHARDS PLC




                                     13
                                                 6.     The Operating Agreement gave Mr. Harbour 99% ownership in Pujanza and me
                                     14
                                          1%. It also named Mr. Harbour Manager and Tax Partner. As Manager Mr. Harbour had full
                                     15
                                          power and discretion to manage and direct Pujanza’s business, property and affairs, and execute
                                     16
                                          documents on behalf of the Company, including but not limited to all contracts or agreements
                                     17
                                          with any third parties. [See Exhibit _____ at Sections 5.1 and 5.3.1.] He did not need approval
                                     18
                                          from me or any of my advisors to engage in any of these activities.
                                     19
                                                 7.     On or around December 2, 2014, Pujanza loaned approximately $1,000,000 (the
                                     20   “Loan”) to Oak Tree Management, LLC (“Oak Tree”) under the terms of the Operating
                                     21   Agreement. [See Exhibit _____.]
                                     22          8.     The Loan was formalized by a promissory note (the “Note”). [See Exhibit ____.]
                                     23   The Note was secured by a commercial security agreement dated December 2, 2014 between
                                     24   Oak Tree and Pujanza (the “Security Agreement”).            [See Exhibit ____.]     The Security
                                     25   Agreement granted Pujanza a security interest in, among other things, certain accounts,
                                     26   promissory notes, chattel paper, and instruments that may have existed between Oak Tree and
                                     27   Green Circle a wholly owned subsidiary and sovereign economic arm of, and created under the
                                     28
                                                                                     {WB717873v2 }2


                                                                                                                             DAH_0000013
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                                      1
                                          laws of the Wakpamni Lake Community Corporation, a wholly-owned economic
                                      2
                                          instrumentality of the Oglala Sioux Tribe, a federally-recognized sovereign American Indian
                                      3
                                          Tribe (“GC”), and all proceeds thereof.
                                      4
                                                    9.    It is my understanding and belief that on January 8, 2015, Mr. Harbour executed
                                      5
                                          a consulting agreement between his company Milagro Consulting, LLC (“Milagro”) and GC.
                                      6
                                          This agreement gave Milagro a success fee of 80% of the profits of GC. [See Exhibit ____ at
                                      7
                                          p. 16.]
                                      8
                                                    10.   It is my understanding and belief that on January 8, 2015, Mr. Harbour, as the
                                      9
                                          Manager of Milagro, entered into a participation agreement between Milagro and Pujanza,
                                     10
                                          which allowed Pujanza to participate in the profits Milagro received from GC. [See Exhibit
                                     11
                                          ____.]
2901 N. Central Avenue, Suite 1150




                                     12
     Telephone 602-812-7979
     Phoenix, Arizona 85012

     Facsimile 602-595-7800
      BASKIN RICHARDS PLC




                                                    11.   The Loan authorized Mr. Harbour, as the Manager of Oak Tree, to use the funds
                                     13
                                          from Pujanza to pay expenses for Oak Tree and for the benefit of Mr. Harbour at his sole
                                     14
                                          discretion. The Loan did not require Oak Tree to obtain any preapprovals from Pujanza and
                                     15
                                          did not establish a limit on the amount that Oak Tree could spend on expenses for the benefit
                                     16
                                          of the Manager or Oak Tree. [See Exhibit _____ at p. 1.]
                                     17
                                                    12.   My sole concern was having my investment repaid, regardless of the precise use
                                     18
                                          of the Loan proceeds. I relied on my attorneys and advisors’ representations, not Mr. Harbour’s.
                                     19
                                          [See Exhibit ______ at pp. 34, 46, and 55.]
                                     20             13.   Upon information and belief $999,000 of my investment in Pujanza was loaned
                                     21   to GC to support its tribal lending operation. I now understand that in some instances Mr.
                                     22   Harbour may have first used some of my money for business or personal expenses not related
                                     23   to my loan. It is my understanding and belief that Mr. Harbour had a line of credit (“LOC”)
                                     24   with an associate that he could draw on, amongst other things, to offset any expenses he had
                                     25   paid with the Pujanza loan, and that he drew on the LOC and loaned to GC all amounts from
                                     26   Pujanza that he may have previously used for other expenses. Although I may have wanted to
                                     27   know if Mr. Harbour was using a portion of my investment to pay personal expenses, the
                                     28
                                                                                     {WB717873v2 }3


                                                                                                                           DAH_0000014
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                                      1
                                          Operating Agreement my counsel drafted gave him the right to use the money as he did without
                                      2
                                          my approval.
                                      3
                                                    14.   The government never asked me about the Operating Agreement, who drafted it
                                      4
                                          and what rights I gave Mr. Harbour. The government never told me my money ended up where
                                      5
                                          it was supposed to go. It only asked me about one transaction and never provided any more
                                      6
                                          detail.
                                      7
                                                    15.   Pursuant to the Note, Pujanza received approximately $78,750 in interest between
                                      8
                                          2015 and 2017. The payments came from GC to Oak Tree, and then Pujanza. The payments
                                      9
                                          from GC and Oak Tree were proper and per the terms of the Note. In turn, Pujzana made
                                     10
                                          approximately $78,750 of distributions to the Mark Burg Living Trust. The distributions from
                                     11
                                          Pujanza to the Mark Burg Living Trust were consistent with the terms of the Operating
2901 N. Central Avenue, Suite 1150




                                     12
     Telephone 602-812-7979
     Phoenix, Arizona 85012

     Facsimile 602-595-7800
      BASKIN RICHARDS PLC




                                          Agreement.
                                     13
                                                    16.   I do not believe Mr. Harbour misrepresented any of the terms of my investment.
                                     14
                                          I do not believe I was defrauded by Mr. Harbour in relation to my investment in Pujanza.
                                     15
                                                    17.   I believe Mr. Harbour did not intend to lose my money and acted in good faith
                                     16
                                          when he told me he thought it was a good investment and he would not have ever intentionally
                                     17
                                          put my money at risk.
                                     18
                                                    18.   I believe Mr. Harbour always had good intentions and would pay back my
                                     19
                                          investment when he had the funds to do so.
                                     20             19.   I do not believe Mr. Harbour ever planned, tried, wanted, or intended to harm,
                                     21   deceive, or cheat me out of my money.
                                     22             20.   Mr. Harbour and I have resolved our differences related to my investment into
                                     23   Pujanza. I consider any disputes with Mr. Harbour and/or any entity related to Mr. Harbour
                                     24   concluded and fully resolved.
                                     25             21.   I have not sustained any losses or harm from my business dealings with Mr.
                                     26   Harbour and waive any claim I may have to restitution in United States v. Harbour.
                                     27

                                     28
                                                                                     {WB717873v2 }4


                                                                                                                           DAH_0000015
                                            Case 2:19-cr-00898-DLR Document 365-1 Filed 04/05/22 Page 12 of 43




                                      1
                                                22.    I do not want to participate in any trial or action against Mr. Harbour in United
                                      2
                                          States v. Harbour, but will honor any lawfully issued subpoena.
                                      3
                                                23.    I may wish to socialize with Mr. Harbour and his family, or do business with Mr.
                                      4
                                          Harbour and I ask that he not be subject to any release condition preventing him from having
                                      5
                                          direct or indirect contact with me, my family and my business advisors.
                                      6

                                      7
                                                DATED this ____ day of November 2021.
                                      8

                                      9
                                     10

                                     11
                                                                                   MARK BURG
2901 N. Central Avenue, Suite 1150




                                     12
     Telephone 602-812-7979
     Phoenix, Arizona 85012

     Facsimile 602-595-7800
      BASKIN RICHARDS PLC




                                     13

                                     14

                                     15

                                     16

                                     17

                                     18

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                                     20

                                     21

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                                     24

                                     25

                                     26

                                     27

                                     28
                                                                                   {WB717873v2 }5


                                                                                                                         DAH_0000016
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                  EXHIBIT 4
                 Case 2:19-cr-00898-DLR Document 365-1 Filed 04/05/22 Page 14 of 43




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5
     Attorneys for Defendant
6
7                          IN THE UNITED STATES DISTRICT COURT

8                                FOR THE DISTRICT OF ARIZONA
9
     United States of America,                      Case No. CR-19-00898-PHX-DLR(DMF)
10
                                       Plaintiff,   DECLARATION OF MARK BURG
11

12
     vs.

13   David Allen Harbour,
14                                   Defendant.
15
            I, Mark Burg, am an adult over the age of 18 years, and I am competent to provide this
16
     Declaration, testify to the same, and affirm that the contents are true. I make this Declaration
17
     based upon my own personal knowledge and do so under penalty of perjury.
18
            1.       I have been represented by counsel in connection with the drafting of this
19
     declaration, and a Settlement and Release of Claims Agreement with David Harbour, Pujanza
20
     Management LLC (“Pujanza”) and any all affiliates, entities, family members of David
21
     Harbour, effective DecemberNovember___, 2021 and make this declaration of my own free-
22
     will. I have not been asked to say anything but the truth. I do not make any of the statements
23
     in this declaration so Mr. Harbour will repay me; I make this declaration to set the record
24
     straight regarding our business dealings.
25

26
27

28
     {WB725093v1 }




                                                                                                        DAH_0000007
                 Case 2:19-cr-00898-DLR Document 365-1 Filed 04/05/22 Page 15 of 43




1
            2.     I understand that I may be regarded as a victim in connection with David
2
     Harbour’s July 30, 2019 indictment and, November 24, 2020 superseding indictment. I am not
3
     a victim and do not wish to be treated by the government or the Court as one.
4
            3.     I do not want any indictment to include my initials or any reference to me or any
5
     transactions related to any loans or investments I, either personally or through an entity or trust
6
     I control or am associated made to Mr. Harbour or any entity with which he was associated, or
7
     any other business dealings we have had.
8
            4.     I met Mr. Harbour and his family in late August 2013 at Gozzer Ranch. I was at
9
     Gozzer Ranch with my family and not Mr. Harbour. Any social events or businesses Mr.
10
     Harbour was associated with prior to August 2013 I did not attend and was not a part of.
11
            5.     In and around March of 2014, Mr. Harbour and I met at the Peninsula hotel in
12
     Beverly Hills, CA to discuss doing business together.
13
            6.     In and around August of 2014, Mr. Harbour sent me an agreement to loan
14
     $1,000,000.00 to Mr. Harbour. My attorneys advised Mr. Harbour that the transaction needed
15
     to take the form of an investment instead of a loan, and they drafted the agreements for my
16
     investment.
17
            3.7.   In and around November 2014, I met Mr. Harbour at the Peninsula Hotel in
18
     Beverly Hills, CA. Around that time, I told Mr. Harbour that my advisors were still working on
19
     the operating agreement for my investment.
20          4.8.   On or around December 1, 2014, I invested $1,000,000 into Pujanza.
21          5.9.   My legal counsel drafted Pujanza’s Operating Agreement, (“Operating
22   Agreement”), and I relied on counsel to draft it properly. [See Exhibit ____ at Section 13.18.]
23   The Operating Agreement defined the purpose of Pujanza as “making investments in the form
24   of equity investments or debt investments in various industries.”
25          10.    The Operating Agreement gave Mr. Harbour 99% ownership in Pujanza and me
26   1%. It also named Mr. Harbour Manager and Tax Partner. As Manager Mr. Harbour had full
27   power and discretion to manage and direct Pujanza’s business, property and affairs, and execute
28
                                                {WB725093v1 }2




                                                                                                           DAH_0000008
                 Case 2:19-cr-00898-DLR Document 365-1 Filed 04/05/22 Page 16 of 43




1
     documents on behalf of the Company, including but not limited to all contracts or agreements
2
     with any third parties. [See Exhibit _____ at Sections 5.1 and 5.3.1.] He did not need approval
3
     from me or any of my advisors to engage in any of these activities.
4
               6.11. My legal counsel did not have any conversations with Mr. Harbour about Pujanza
5
     or the nature of its business.
6
               7.12. On or around December 2, 2014, Pujanza loaned approximately $1,000,000 (the
7
     “Loan”) to Oak Tree Management, LLC (“Oak Tree”) under the terms of Pujanza’s Operating
8
     Agreement. [See Exhibit _____.]
9
               8.13. The Loan was formalized by a promissory note (the “Note”) [See Exhibit ____.]
10
     My understanding and belief is that the Note was secured by a commercial security agreement
11
     dated December 2, 2014 between Oak Tree and Pujanza (the “Security Agreement”). [See
12
     Exhibit ____.] I further understand and believe that the Security Agreement granted Pujanza a
13
     security interest in, among other things, certain accounts, promissory notes, chattel paper, and
14
     instruments that may have existed between Oak Tree and Green Circle, a wholly owned
15
     subsidiary and sovereign economic arm of, and created under the laws of the Wakpamni Lake
16
     Community Corporation, a wholly-owned economic instrumentality of the Oglala Sioux Tribe,
17
     a federally-recognized sovereign American Indian Tribe (“GC”), and all proceeds thereof. I
18
     further understand and agree that Mr. Harbour had the right as the Manager of Oak Tree to
19
     subordinate the Pujanza Loan.
20             9.14. It is my understanding and belief that on January 8, 2015, Mr. Harbour executed
21   a consulting agreement between his company Milagro Consulting, LLC (“Milagro”) and GC.
22   This agreement gave Milagro a success fee of 80% of the profits of GC. [See Exhibit ____ at
23   p. 16.]
24             10.15. It is my understanding and belief that on January 8, 2015, Mr. Harbour, as the
25   Manager of Milagro, entered into a participation agreement between Milagro and Pujanza,
26   which allowed Pujanza to participate in the profits Milagro received from GC. [See Exhibit
27   ____.]
28
                                                {WB725093v1 }3




                                                                                                        DAH_0000009
               Case 2:19-cr-00898-DLR Document 365-1 Filed 04/05/22 Page 17 of 43




1
            11.16. The Loan authorized Mr. Harbour, as the Manager of Oak Tree, to use the funds
2
     from Pujanza to pay expenses for Oak Tree and for the benefit of Mr. Harbour at his sole
3
     discretion. The Loan did not require Oak Tree to obtain any preapprovals from Pujanza and
4
     did not establish a limit on the amount that Oak Tree could spend on expenses for the benefit
5
     of the Manager or Oak Tree. [See Exhibit _____ at p. 1.]
6
            12.17. I understood, based on advice of legal and accounting professionals, that I had
7                                                                                                          Commented [AB1]: Was not a loan.
     made a legal and proper investment and my primary concern was having my investment repaid.
8
     [See Exhibit ______ at pp. 34, 46, and 55.]
9
            13.18. Upon information and belief $999,000 of investment in Pujanza was loaned to
10
     GC to support its tribal lending operation. I now understand that in some instances Mr. Harbour
11
     may have first used some of my money for business or personal expenses not related to my
12
     loan. Although I may have wanted to know if Mr. Harbour was using a portion of my investment
13
     to pay personal expenses, the Operating Agreement my counsel drafted gave him the right to
14
     use the money as he did without my approval. I understand and have seen documents leaving
15
     me with the understanding and belief that all the $999,000 investment in Pujanza that was
16
     loaned to Oak Tree was subsequently loaned to GC. My primary concern was receiving my
17
     distributions and having my investment repaid.
18
            14.19. The government never told me my money ultimately ended up in Green Circle,
19
     which is my understanding and belief based on documents that I have reviewed.
20          15.20. Pujzana made approximately $78,750 of distributions to the Mark Burg Living
21   Trust. The distributions from Pujanza to the Mark Burg Living Trust were consistent with the
22   terms of the Operating Agreement.
23          16.21. I do not believe Mr. Harbour misrepresented any of the terms of my investment.
24   If Mr. Harbour did fail or forget to disclose any of the terms or representations of my investment
25                                                                                                         Commented [AB2]: We have not agreed to any of this
     in Pujanza, or his past business deals, I do not believe it was intentional or being deceitful.   I   language. The redline is in addition to the language we
                                                                                                           discussed last time. This is critical language that ties into
26   do not believe I was defrauded by Mr. Harbour in relation to my investment in Pujanza.                specific language in the government's bill of particulars.
                                                                                                           This language should also be acceptable because Burg's
27          17.22. I believe Mr. Harbour did not intend to lose my money.                                  lawyers drafted the documents specifying what David could
                                                                                                           or could not do.
28
                                                {WB725093v1 }4




                                                                                                                                   DAH_0000010
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1
           18.23. After reviewing certain documents, I do not believe Mr. Harbour ever planned,
2
     tried, wanted, or intended to harm, deceive, or cheat me out of my money.
3
           19.24. Mr. Harbour and I have resolved our differences related to my investment into
4
     Pujanza. I consider any disputes with Mr. Harbour and/or any entity related to Mr. Harbour
5
     concluded and fully resolved.
6
           20.25. I have not sustained any actual or intended losses or harm from my business
7
     dealings with Mr. Harbour and waive any claim I may have to restitution in United States v.
8
     Harbour.
9
           21.26. I do not want to participate in any trial or action against Mr. Harbour in United
10                                                                                                    Commented [ 3]: Will be in SRA.
     States v. Harbour, but will honor any lawfully issued subpoena.
                                                                                                      Formatted: Font: Not Italic
11
           22.27. I do not want to participate in any fashion, whether as a witness or victim, in
12
     United States v. Harbour.
13
           23.
14
           24.28. I ask that Mr. Harbour not be subject to any release condition preventing him
15
     from having direct or indirect contact with me, my family and my business advisors.
16
17
           DATED this ____ day of DecemberNovember 2021.
18
19

20

21                                           MARK BURG
22
23

24
25
26

27
28
                                             {WB725093v1 }5




                                                                                                                           DAH_0000011
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                  EXHIBIT 5
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                       SETTLEMENT AND RELEASE AGREEMENT

        This Settlement and Release Agreement (“SRA”) is entered into by and between David
Allen Harbour (“Harbour”) and Mark Burg (“Burg”). Harbour and Burg are collectively referred
to herein as the “Parties.”

                                           I. RECITALS

       A.      On July 1, 2014, Articles of Organization for Pujanza Management, LLC
(“Pujanza”), a Wyoming limited liability company, were filed with the Wyoming Secretary of
State on behalf of Harbour. The original operating agreement became effective as of the same
date. On or around December 1, 2014, Burg and Harbour executed an amended and restated
operating agreement under which Burg was admitted to Pujanza as a new member. Pujanza issued
to Burg a 1% membership interest for a purchase price of One Million Dollars ($1,000,000.00).

        B.     On or around December 2, 2014, Pujanza loaned most of the $1,000,000.00 Burg
invested in Pujanza to Oak Tree Management, LLC (“Oak Tree”), an entity Harbour owned. The
loan was memorialized in a promissory note dated December 2, 2014 (the “Note”). The loan was
to be used to fund a payday lending entity called Green Circle, and to pay Oak Tree’s and
Harbour’s expenses. Payment of the expenses was at Harbour’s sole discretion and he was not
required and did not need to obtain any pre-approval from Pujanza or Burg regarding the expenses.
Oak Tree’s payments to Pujanza under the Note were to be comprised of quarterly interest-only
payments and then a lump sum payment of $1,000,000.00 in December 2019. Pujanza was
obligated to make certain quarterly distributions to Burg until Burg’s investment was repaid. Burg
received around $78,750 in distributions from Pujanza. The principal balance of the Note, which
corresponds to Burg’s capital contribution to Pujanza, is still outstanding.

        C.     On or around November 4, 2017, Burg filed a lawsuit against Harbour and entities
related to Harbour in Mark Burg v. David A. Harbour, et al., BC678175 (the “Lawsuit”). The
Lawsuit arose out of facts and circumstances related to Burg’s investment in Pujanza, and
Pujanza’s subsequent loan to Oak Tree.

        D.      The Parties now wish to compromise and settle all claims, including but not limited
to the Lawsuit, that are related to the Note and otherwise, upon the terms and conditions set forth
in Section II below. Burg represents that he has the authority to settle all matters against Harbour
on behalf of all applicable entities he may control, be a beneficiary of, or have a majority interest
in. For the remainder of this agreement, Burg and all entities he may control, be a beneficiary of,
or have a majority interest in that may have claims against Harbour and/or any of Harbour’s related
entities will be referred to as “Burg.” Harbour, his community property, and/or any of his related
entities that may be liable to Burg under any claim will be referred to collectively as “Harbour.”

                                II. TERMS OF AGREEMENT

        In consideration of the promises and covenants contained in this SRA, the validity and
sufficiency of which are hereby acknowledged, the Parties agree as follows:


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       Burg       Harbour _______
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       A.      General Release and Discharge.

       For good and valuable consideration, Burg, for himself and his spouse, beneficiaries,
children, heirs, trusts, trustees, executors, representatives, servants, agents, administrators,
predecessors, successors, assigns, affiliates, and all other persons or entities claiming by, through
or under him, hereby fully releases and forever discharges and acquits Harbour and his spouse,
beneficiaries, children, heirs, trusts, trustees, executors, representatives, servants, agents,
administrators, predecessors, successors, assigns, affiliates, and all other persons or entities with
whom any of the foregoing have been, are now, or may hereafter be affiliated, from any and all
claims, liabilities, rights, obligations, charges, promises, agreements, injuries, expenses,
compensations, losses, debts, monies, damages, demands, lawsuits, appeals, complaints,
grievances, causes, actions, causes of action, costs, and fees, of any nature whatsoever, whether in
law, in equity, known, unknown, liquidated, unliquidated, absolute, contingent, anticipated, or
unanticipated.

        Burg acknowledges and agrees that the release and discharge set forth above is a general
release. Burg further agrees that he has accepted the consideration specified herein as a complete
compromise of any debt Harbour may have under the Note, which debt may involve a matter of
disputed issues of law and fact. Burg assumes the risk that the facts or law may be other than he
believes. Burg expressly waives and assumes the risk of any claims for damages which exist as
of this date, including those of which he does not know or suspect to exist, whether through
ignorance, oversight, error, negligence or otherwise, and which, if known, would affect his
decision to enter into this SRA. Burg understands and agrees that this SRA is a compromise of
disputed claims, and the consideration is not to be construed as an admission of liability on the
part of Harbour, who expressly denies liability. This release does not release any of the Parties
from any of the obligations set forth in this SRA.

       B.      Settlement Payment Terms.

        Within three (3) calendar days of the Parties fully executing this SRA, Harbour will pay to
Burg One Million One Hundred Thousand Dollars and Zero Cents ($1,100,000.00) (“Payment”).
The Payment is given in exchange for the release in Section II.A above and in full settlement and
satisfaction of any debt Harbour may have that is related to Burg, including but not limited to debts
or obligations arising under the Lawsuit. The Parties agree to execute all documents necessary to
effectuate this SRA. The Parties agree to each bear their own costs, attorneys’ fees, and all other
expenses incurred in connection with the execution of this SRA.

       C.      United States v. David Allen Harbour.

        Burg understands that the government regards him as a victim in connection with
Harbour’s July 30, 2019 and November 24, 2020 indictments in United States v. David Allen
Harbour, Case No. CR-19-00898-PHX (“U.S. v. Harbour”). Burg may advise the government
that he does not wish to be treated by the government as a victim, waives any claim to restitution
and considers his dispute with Harbour and any Harbour-related entity concluded.



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       Burg       Harbour _______
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        Subject to the terms of Section II.D below, nothing in this SRA obligates any Party to
provide this SRA to any individual or entity. Notwithstanding the foregoing, the Parties, upon
request by the government, may provide a copy of this SRA to the government in U.S. v. Harbour.
Burg shall comply with any lawfully issued subpoena issued by either party in U.S. v. Harbour,
and testify truthfully should U.S. v. Harbour proceed to trial.

        D.       Confidentiality. The Parties agree to keep this SRA and its terms strictly
confidential and shall not disclose or divulge this SRA or its terms to any person or entity not a
party to this SRA, except as otherwise provided herein, may be required by law, upon order of a
court of competent jurisdiction, to implement or enforce this SRA, to the Internal Revenue Service,
or any federal, state, local or other taxing authority, to any governmental or regulatory agency with
authority to compel production, or to their accountants or attorneys for tax, financial, or estate
planning purposes (but in the event of disclosure to such accountants or attorneys, the disclosing
party shall instruct and secure such advisor’s agreement to maintain the confidentiality of this SRA
and its terms). This confidentiality provision does not prohibit or restrict the Parties or their
attorneys from initiating communications directly with, or responding to any inquiry from, or
providing testimony before any state or federal regulatory or enforcement authority, regarding this
agreement or its underlying facts or circumstances. In the event a party receives a subpoena or
other request for production or disclosure, to which the SRA and/or its terms are responsive, the
subpoenaed party shall provide the other Parties with notice and a reasonable opportunity to object
or move to quash. After providing such opportunity, the party served a subpoena, request for
production or other discovery request may comply with it, unless otherwise ordered to the contrary.
The Parties acknowledge that remedies at law would be inadequate to fully protect against a breach
of the foregoing covenant of confidentiality and, therefore, the Parties may enforce the terms of
this paragraph through equitable remedies including injunctive relief.

        E.      Integration and Understanding. This SRA is complete and integrated, and
constitutes the entire understanding between the Parties with respect to the subject matter
contained herein and supersedes all previous agreements, understandings, promises, warranties,
representations, inducements or conditions, oral or written, except as contained herein. The
express terms hereof control and supersede any course of performance inconsistent with any terms
hereof. Any revisions, amendments or modifications to this SRA must be in writing and signed
by all Parties. Any implied and/or oral revisions, amendments or modifications will not be binding
on any of the Parties. In entering into this SRA, the Parties represent that they have had the
opportunity to seek the advice of their attorneys concerning the legal consequences of this SRA,
and that the terms of this SRA are fully understood and voluntarily accepted by the Parties.

        F.      Warranty of Capacity. In entering into this SRA, the Parties represent that: (1)
they are legally competent and have the sole right and exclusive authority to settle the claims
referred to in the recitals of this SRA and execute and provide the consideration specified in this
SRA; (2) the individuals executing this SRA on behalf of the Parties have the lawful authority and
good right to execute the same; (3) they have not sold assigned, transferred, conveyed or otherwise
disposed of any of the claims, demands, obligations or causes of action referred to in the recitals
of this SRA; and (4) they understand and agree that this SRA is made and entered into as their free
and voluntary act.


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       Burg       Harbour _______
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        G.       Execution of Multiple Counterparts. This SRA may be executed in any number
of counterparts and by electronic transmission (including PDF or similar scanned format) or
facsimile, each of which shall be deemed to be an original as against any party whose signature
appears thereon, and all of which shall together constitute one and the same instrument. This SRA
shall become binding when one or more counterparts hereof, individually or taken together, shall
bear the signature of all of the Parties reflected hereon as the signatories, and shall constitute the
effective date of this SRA. Any electronic or facsimile signature shall be given full force and
effect for all purposes under this SRA.

         H.      Choice of Law, Jurisdiction and Venue. This SRA and all questions relating to
its validity, interpretation, performance and enforcement shall be governed by, and construed and
interpreted in accordance with, the laws of the State of Arizona. If any action is brought to
construe, interpret, or enforce any provision of this SRA, the Parties irrevocably consent to
exclusive jurisdiction and venue in Maricopa County, Arizona. In the event any party finds it
necessary to bring an action to enforce any of the terms of this SRA or for breach of this SRA, the
prevailing party in any such action or other proceeding shall be awarded its reasonable attorneys’
fees and taxable costs incurred. The Parties expressly agree and acknowledge that this paragraph
shall maintain its full force and effect even if a party claims that the SRA is unenforceable, void,
voidable, or otherwise invalid for any reason or grounds whatsoever.

        I.      Taxes. The Parties agree and acknowledge that none of the Parties, nor anyone
acting or purporting to act on their behalf, has made any representation or provided any advice
regarding taxes or tax liability, if any, resulting from payment of the Settlement Sum. The Parties
agree and acknowledge that they are solely responsible and liable for any federal, state, and/or
local taxes that may be due on the payment of the Settlement Sum, including interest and penalties,
if any. The Parties will issue tax reporting, if any, consistent with their normal business practices.

        J.      Construction. The Parties agree that they have negotiated the terms of this SRA
and that no term shall be construed in favor of or against one or more Parties based on the fact that
one or more Parties drafted the term in dispute. The titles, headings, and paragraph captions set
forth in this SRA are for the convenience of the Parties and do not modify, limit or otherwise affect
the express provisions of this SRA.

       K.      Additional Documents and Actions. The Parties agree to cooperate fully and
execute any supplementary documents and to take all additional actions which may be necessary
or appropriate to give full force and effect to the terms and intent of this SRA.

                         [SIGNATURES ON THE FOLLOWING PAGE]




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       Burg       Harbour _______
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AS INDIVIDUALS AND ON BEHALF OF ANY RELATED ENTITY THAT MAY HAVE
CLAIMS OR OBLIGATIONS CONTEMPLATED BY THIS SRA:


__________________________                               ________________
David Allen Harbour                                      Date



__________________________                               _________________
Mark Burg                                                Date




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                  EXHIBIT 6
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Recorded atthe requestof ClearTitle
                                  Agency ofFlagstaff
When recordedmailto:

H. Wilson Elliott,
                lll
                  and Theresa M. Mulready,Trustees
32531 N Scottsdale Road #105-191
Scottsdale,AZ 85266                                                                         .

Escrow No.: 95201271

                                    WARRANTY         DEED

For the consideration
                    ofTen Dollars,
                                 and othervaluableconsiderations,Ior we, Kenneth S Bobrow and
VictoriaBobrow, husband and wife,who aquired title  as VictoriaRautbord, an unmarried woman
and Kenneth S Barbrow, an unmarried man, the GRANTOR     does hereby convey to H. Wilson Elliott,
111
  and Theresa M. Mulready, Trustees of the Elliott
                                                 Family Trust dated June 2, 1993, amended and
restatedJune 30, 2004, and lastamended and restatedSeptember 3, 2015, the GRANTEE, the
followingrealproperty
                    situated
                           inCOCONINO    County,Arizona:

See Exhibit
          A attachedheretoand made a parthereof.

Pursuant to ARS 33-404,Beneficiaries
                                   names and addresses under said trust(s)
                                                                         are disciosedin
BeneficiaryDisclosureattachedhereto.

SUBJECT TO: Currenttaxesand otherassessments,reservations
                                                        inpatentsand alleasements, rights
                                                                                        of
way, encumbrances,liens,
                       covenants,conditions,
                                          restrictions,       and liabilities
                                                    obligations,          as may appear of
record.

And theGRANTOR    does warrantthetitle
                                    againstallpersonswhomsoever, subjecttothe matterssetforth
above.

Dated: February23, 2021




                  See Signaturesand Notary Acknowledgment     Page Attached
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                                  Warranty Deed - continued

Escrow No.: 95201271


                         Signaturesand Notary Acknowledgment   Page

            acce    ance attached hereto anri hy this reference made   a part hereof


Kenne   S Bobrow


VictoriaBobrow

STATE OF ARIZONA          }
                          }SS
County of fMr   j(£pA     }

Subscribedand sworn tobeforeme this        day of Ñ/,Üfl(dty'(         20       ,by Kenneth
S Bobrow and Victoria
                    Bobrow

Inwitnesswhereof Ihereuntosetmy hand and official
                                               seal.




                                   NotdlyPublic

My Commission Expires:




                                                           JODIE
                                                               JSlMER
                                                         NotaryPublic-Arizona
                                                           Maricopa
                                                                County
                                                       MyComm.   Oct 2021
                                                                   16,
                                                             Expires
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                                BENEFICIARY    DISCLOSURE

ClearTitleAgency of Flagstaff
513 N Beaver St.
         AZ 86001
Flagstaff,

RE: Escrow No.: 95201271

The undersigned,H Wilson Elliott,
                               Ill
                                 and Theresa M Mulready,beingthe Trustee(s)ofthe Elliott
                                                                                      Family
Trust dated June 2, 1993, amended and restatedJune 30, 2004, and lastamended and restated
                                      thatas of thisdate saidTrustAgreement isinfull
September 3, 2015, do(es)hereby certify                                            forceand
effect
     and has notbeen amended, modifiedor revoked.

The names and addressesofthe beneficiaries
                                        ofthe trust,
                                                   which must be disclosedon the deed, are as
follows:
            H Wilson Elliott III
NAME:
            32531 N Scottsdale Rd. #105-191 Scottsdale AZ 85266
ADDRESS:
            Theresa M Mulready
            32b31 N Scottsdale Rd #10b-191 Scottsdale AZ 8b2bb
ADDRESS:
            H Wilson Elliott III
NAME:
            32531 N Scottsdale Rd #105-191 Scottsdale AZ
ADDRESS:

        2/25/2021 | 2:57 PM MST
Date:


Elliott
     FamilyTrustdatedJune 2, 1993,amended and restated
                                                     June 30,2004, and lastamended and
restated
       September 3, 2015

BY:
                 til
   H Wilson Elliott,
  Trustee

BY:
  Theresa M Mulready
  Trustee
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                               Warranty Deed - continued

Escrow No.: 95201271


                                     EXHIBIT   A

LOT 147 OF FOREST HIGHLANDS UNIT TWO, ACCORDING   TO THE PLAT OF RECORD    IN THE
OFFICE OF THE COUNTY RECORDER    OF COCONINO  COUNTY, ARIZONA, RECORDED     IN CASE 4,
MAPS 101 TO 101D AND CERTIFICATES OF PLAT CORRECTION    RECORDED  IN DOCKET 1150,
PAGE 458;AND IN DOCKET 1137,PAGE 415 AND RECORDED    IN DOCKET 1332, PAGE 664,
RECORDS   OF COCONINO  COUNTY, ARIZONA.
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                  EXHIBIT 7
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